                     Case 6:21-cr-00198-MC               Document 1       Filed 01/05/21          Page 1 of 12
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                      District
                                                __________     of Oregon
                                                           District of __________

                  United States of America                       )
                             v.                                  )
              ANDREW AARON LLOYD and
                                                                 )      Case No. 6:21-mj-00001
                RUSSELL A. SCHORT,                               )
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)
                            CRIMINAL COMPLAINT
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         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     April 2020               in the county of                   Linn           in the
                       District of           Oregon          , the defendant(s) violated:

            Code Section                                                   Offense Description
           18 U.S.C. § 1343                                                   Wire Fraud
           18 U.S.C. § 1344                                                   Bank Fraud
           18 U.S.C. § 1957                                                   Money Laundering




         This criminal complaint is based on these facts:
The attached affidavit of Timothy W. Suttles, which is incoporated herein




         u Continued on the attached sheet.

                                                                           /s/ Timothy W. Suttles, Per Rule 4.1

                                                                                             Complainant’s signature

                                                                                  Timothy W. Suttles, Special Agent FBI
                                                                                              Printed name and title

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Date:     January 5, 2021
                                                                                                Judge’s signature

City and state:                         Eugene, Oregon                        Mustafa T. Kasubhai, U.S. Magistrate Judge
                                                                                              Printed name and title
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